

People v Watts (2021 NY Slip Op 02114)





People v Watts


2021 NY Slip Op 02114


Decided on April 06, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 06, 2021

Before: Gische, J.P., Kapnick, Oing, Moulton, JJ. 


Ind No. 1563/13 Appeal No. 13519 Case No. 2018-1403 

[*1]The People of the State of New York, Respondent,
vOneal Watts, Defendant-Appellant. 


Robert S. Dean, Center for Appellate Litigation, New York (Allison N. Kahl of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Daniel J. Young of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Steven L. Barrett, J.), rendered October 6, 2015, convicting defendant, upon his plea of guilty, of conspiracy in the fourth degree and criminal sale of a controlled substance in the third degree, and sentencing him to an aggregate prison term of six years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of reducing the postrelease supervision component of the sentence to 1½ years, and otherwise affirmed.
We find the sentence excessive to the extent indicated. The record does not
establish a valid appeal waiver.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 6, 2021








